                              Case 3:21-cv-08687-LB Document 1 Filed 11/08/21 Page 1 of 31



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                         BMW OF NORTH AMERICA, LLC
                    8
                    9
                                                       UNITED STATES DISTRICT COURT
                  10
                                                    NORTHERN DISTRICT OF CALIFORNIA
                  11
                  12
                         NEAL ADAMS,                                  Case No.
                  13
                                                Plaintiff,            [Removed from Alameda County Sup. Ct. Case
                  14                                                  No. RG21115137]
                                          vs.
                  15                                                  NOTICE OF REMOVAL OF CIVIL
                         BMW OF NORTH AMERICA, LLC; and               ACTION TO THE UNITED STATES
                  16     DOES 1 through 30, inclusive,                DISTRICT COURT BY DEFENDANT
                                                                      BMW OF NORTH AMERICA, LLC
                  17                            Defendants.
                                                                      [Notice of Appearance; Civil Cover Sheet;
                  18                                                  Corporate Disclosure Statement and
                                                                      Certification of Interested Parties; Declaration
                  19                                                  of Mark W. Allen filed concurrently herewith]

                  20                                                  Complaint Filed: October 7, 2021
                                                                      Complaint Served: October 8, 2021
                  21                                                  Notice of
                                                                      Removal Filed:    November 8, 2021
                  22
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                  28
MORGAN, LEWIS &
 BOCKIUS LLP                                                                                                   Case No.
 ATTORNEYS AT LAW                  NOTICE OF REMOVAL OF CIVIL ACTION TO THE UNITED STATES DISTRICT COURT
  SAN FRANCISCO
                                                 BY DEFENDANT BMW OF NORTH AMERICA, LLC
                        DB2/ 37027033.2
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                    1            TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

                    2            PLEASE TAKE NOTICE THAT that pursuant to 28 U.S.C. §§ 1332, 1441(a) & (b), and

                    3   1446, Defendant BMW of North America, LLC (“BMW NA”) hereby removes the above-entitled

                    4   action (the “Action”) from the Superior Court of the State of California in the County of Alameda,

                    5   to the United States District Court of the Northern District of California. In support of this removal,

                    6   BMW NA states the following:

                    7   I.       REMOVAL IS PROPER BASED ON DIVERSITY JURISDICTION

                    8            A.    Procedural Background

                    9            1.    On October 7, 2021, Plaintiff Adam Neal (“Plaintiff”) commenced this action,
                  10    titled Neal Adams v. BMW of North America, LLC, Case No. RG21115137, by filing an

                  11    unverified complaint (“Complaint”) in the Superior Court of the State of California in the County

                  12    of Alameda. The Complaint alleges a single cause of action for breach of the express warranty in

                  13    violation of the California Song-Beverly Consumer Warranty Act related to Plaintiff’s purchase

                  14    of a 2017 BMW X5 (“Subject Vehicle”). See Exh. A, Complaint, ¶¶ 1, 17-30. The total price of

                  15    the Subject Vehicle is $74,178.53. Id. at ¶ 8. Plaintiff seeks restitution for the Subject Vehicle,

                  16    “a civil penalty in an amount twice that of the actual damages” under Cal. Civ. Code § 1794(c),

                  17    attorneys’ fees for costs of the lawsuit, pre-judgment interest, and other relief this Court may

                  18    deem appropriate. See id., Prayer for Relief 1 through 6. Here, the amount in controversy

                  19    exceeds $75,000.00 based on Plaintiff’s claimed damages, statutory civil penalties, and attorneys’
                  20    fees. Future attorneys’ fees are included when calculating a reasonable estimate of a plaintiff’s

                  21    attorneys’ fees. See Fritsch v. Swift Trans. Co. of Arizona, LLC, 899 F.3d 785, 794 (9th Cir.

                  22    2018).

                  23             2.    BMW NA was served with the Summons and Complaint on October 8, 2021, via

                  24    CT Corporation System, BMW NA’s registered agent for service of process.

                  25             3.    Pursuant to 28 U.S.C. § 1446(a), BMW NA attaches to this Notice and

                  26    incorporates by reference Exhibits A (Complaint, Summons, and Proof of Service) and B (BMW

                  27    NA’s Answer to Complaint), which are true and correct copies of all process, pleadings, and

                  28    orders that have been filed in this action.
MORGAN, LEWIS &                                                           1                                          Case No.
 BOCKIUS LLP
 ATTORNEYS AT LAW                  NOTICE OF REMOVAL OF CIVIL ACTION TO THE UNITED STATES DISTRICT COURT
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                    1          4.       No other defendant has been named in this matter.
                    2          B.       This Court Has Subject Matter Jurisdiction Based on Complete Diversity of
                                        the Opposing Parties
                    3
                    4          5.       This is a civil action over which this Court has diversity jurisdiction pursuant to 28

                    5   U.S.C. § 1332, and is one that BMW NA may remove pursuant to 28 U.S.C. § 1441, subsections

                    6   (a) and (b). The requirements for diversity jurisdiction are met here because this is a civil action

                    7   with an amount in controversy exceeding $75,000.00, exclusive of interest and costs, and is

                    8   between citizens of different states.

                    9                          The Amount in Controversy Exceeds $75,000.00
                  10           6.       The first requirement for diversity jurisdiction is that the amount in controversy

                  11    must exceed the sum of $75,000.00, exclusive of interests and costs. 28 U.S.C. § 1332(a). In

                  12    determining whether a complaint meets the $75,000.00 threshold amount set forth in 28 U.S.C.

                  13    § 1332(a), a court must consider the aggregate amount of all the claims, not the amount involved

                  14    in each individual claim. Campbell v. Hartford Life Ins. Co., 825 F. Supp. 2d 1005, 1008 (E.D.

                  15    Cal. 2011) (diversity statute confers jurisdiction over entire action, not just specific claims alleged

                  16    in complaint, and, therefore, claims of single plaintiff are aggregated in order to satisfy amount in

                  17    controversy).

                  18           7.       The fact that a complaint fails to specify the total amount of damages in a dollar

                  19    amount does not deprive this Court of jurisdiction. See Banta v. Am. Med. Response Inc., 2011
                  20    U.S. Dist. LEXIS 77558, at *4 (C.D. Cal. July 15, 2011) (defendant may remove suit to federal

                  21    court notwithstanding the failure of plaintiff to plead a specific dollar amount in controversy; if

                  22    the rules were otherwise, “any plaintiff could avoid removal simply by declining to place a

                  23    specific dollar claim upon its claim”); see also Simmons v. PCR Tech., 209 F. Supp. 2d 1029,

                  24    1031-35 (N.D. Cal. 2002) (holding that plaintiff’s damage claim, including lost wages, lost

                  25    earning capacity, medical expenses, emotional distress, and attorneys’ fees, was enough to put the

                  26    amount in controversy above $75,000.00).

                  27           8.       It is well established that the amount in controversy allegation “is accepted if made

                  28    in good faith.” Dart Cherokee Basin Operating Co. v. Owens, 135 S. Ct. 547, 554 (2014). To
MORGAN, LEWIS &                                                           2                                          Case No.
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                    1   satisfy the amount in controversy requirement, “a defendant’s notice of removal need include

                    2   only a plausible allegation that the amount in controversy exceeds the jurisdictional threshold.”

                    3   Id. Similarly, the amount in controversy allegation of a defendant seeking federal-court

                    4   adjudication “should be accepted when not contested by the plaintiff or questioned by the court.”

                    5   Id. Thus, removal is proper if, from the allegations of the Complaint and the Notice of Removal,

                    6   it is more likely than not that the claims exceed $75,000.00, exclusive of interest and costs.

                    7   Sanchez v. Monumental Life Ins. Co., 102 F.3d 398, 403-04 (9th Cir. 1996).

                    8          9.      Here, although BMW NA denies that it is liable for any amount of damages, the

                    9   amount in controversy based on the claims and allegations in the Complaint exceeds $75,000.00.
                  10    Here, Plaintiff alleges BMW NA violated the Song-Beverly Consumer Warranty Act. See Exh.

                  11    A, Complaint, p. 1. Plaintiff seeks restitution for the purchase of the Subject Vehicle, which

                  12    totals $74,178.53 according to Plaintiff’s allegation. See Exhibit A at ¶ 8. Additionally, Plaintiff

                  13    seeks to recover a civil penalty under the Song-Beverly Act of “two times actual damages,” and

                  14    no less. See id. at ¶ 29; see also id. at 7, Prayer for Relief (3). Plaintiff’s claim for two-time civil

                  15    penalties alone places $148,357.06 in controversy. Moreover, Plaintiff issued a settlement

                  16    demand seeking $145,485.04 to resolve this matter. See Declaration of Mark W. Allen, ¶ 2,

                  17    Exhibit A; see Cohn v. Petsmart, 281 F.3d 837, 840 (9th Cir. 2002) (“A settlement letter is

                  18    relevant evidence of the amount in controversy if it appears to reflect a reasonable estimate of

                  19    plaintiff’s claim”) (citing Chase v. Shop ‘N Save Warehouse Foods, Inc., 110 F.3d 424, 428-30
                  20    (7th Cir. 1997) (plaintiff’s settlement offer is properly consulted in determining “plaintiff’s

                  21    assessment of the value of her case”)). Thus, the amount in controversy exceeds $75,000.00

                  22    based Plaintiff’s claimed damages, statutory civil penalties, and attorneys’ fees.

                  23           10.     A reasonable estimate of the plaintiff’s attorneys’ fees can be included in the

                  24    amount in controversy for claims made under the Song-Beverly Consumer Warranty Act. Brady

                  25    v. Mercedes-Benz USA, 243 F. Supp. 2d, 1004, 1010 (2002); Galt G/S v. JSS Scandinavia, 142

                  26    F.3d 1150, 1155-56 (9th Cir. 1998) (“[W]here an underlying statute authorizes an award of

                  27    attorneys’ fees, either with mandatory or discretionary language, such fees may be included in the

                  28    amount in controversy”). Additionally, there is no longer a split in authority regarding the proper
MORGAN, LEWIS &                                                            3                                           Case No.
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                    1   calculation of attorneys’ fees for purposes of determining the amount in controversy. The courts

                    2   have determined that future attorneys’ fees—not just attorneys’ fees as of the date of removal—

                    3   are included when calculating a reasonable estimate of a plaintiff’s claim for attorneys’ fees. See

                    4   Fritsch v. Swift Trans. Co. of Arizona, LLC, 899 F.3d 785, 794 (9th Cir. 2018). Based on past

                    5   dealings with Plaintiff’s counsel, Plaintiff’s counsel’s hourly rate is $550.00. Declaration of

                    6   Mark W. Allen, at ¶ 3. Thus, if Plaintiff incurred just two hours of attorneys’ fees totaling

                    7   $1,100.00, the attorneys’ fees incurred plus the $74,178.53 purchase price of the vehicle would

                    8   put the amount in controversy above $75,000.00.

                    9           11.     Likewise, the court in Brady, 243 F. Supp. 2d at 1004 specifically held that “there
                  10    is good reason to include the Song–Beverly Act’s civil penalty of up to two times the amount of

                  11    actual damages in the amount in controversy.” Id. at 1009. The Song-Beverly Act’s civil penalty

                  12    differs in at least two respects from punitive damages. First, the Song-Beverly civil penalty is

                  13    capped at two times the plaintiff’s actual damages. Cal. Civ. Code § 1794(c). By contrast, there

                  14    is no specific limit on the amount of punitive damages that can be awarded in an action and thus

                  15    they are necessarily more speculative. See College Hospital, Inc. v. Superior Court, 8 Cal. 4th

                  16    704, 712 (1994). Second, the standards of proof are different. While punitive damages require a

                  17    plaintiff to prove with clear and convincing evidence that the defendant acted with malice,

                  18    oppression, or fraud, in order to obtain civil penalties under the Song-Beverly Act, the plaintiff

                  19    must only prove by a preponderance of the evidence that the defendant willfully failed to
                  20    repurchase the vehicle. See CACI 3948, CACI 3244 (revised May 20181). Thus, the heightened

                  21    evidentiary standard also makes punitive damages awards more speculative compared to the civil

                  22    penalty authorized under the Song-Beverly Consumer Warranty Act. As such, the amount in

                  23    controversy exceeds $75,000.00 and the jurisdictional amount needed to establish diversity

                  24    jurisdiction is satisfied.

                  25                             Complete Diversity Exists

                  26            12.     The second requirement, complete diversity of citizenship, is met when all

                  27    1
                          CACI 3244, as revised, defines “willful” in the context of a Song-Beverly claim as the
                  28    defendant “knew of [its] legal obligations and intentionally declined to follow them.”
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                    1   plaintiffs are diverse from all defendants. 28 U.S.C. § 1332(a)(1). Removal of such an action is

                    2   appropriate when no defendant is a citizen of the same state in which the action was originally

                    3   brought. 28 U.S.C. § 1441(a)-(b). For purposes of diversity, a corporation is deemed to be a

                    4   citizen of (1) the state under whose laws it is organized; and (2) the state of its “principal place of

                    5   business.” 28 U.S.C. § 1332(c)(1). The citizenship of “Doe” defendants, however, is disregarded

                    6   for removal purposes. 28 U.S.C. § 1441(b)(1); Newcombe v. Adolf Coors Co., 157 F.3d 686,

                    7   690-91 (9th Cir. 1998) (holding that, for removal purposes, the citizenship of defendants sued

                    8   under fictitious names shall be disregarded); see also Soliman v. Philip Morris, Inc., 311 F.3d

                    9   966, 971 (9th Cir. 2002).
                  10            13.    Here, the diversity requirements are met. Here, Claimant alleges that “[a]t all

                  11    relevant times herein, NEAL ADAMS is and was a resident of the state of California.” See

                  12    Exhibit A, ¶ 2; see HSBC Bank USA, NA v. Valencia, No. 09-CV-1260-OWW-JLT, 2010 WL

                  13    546721, *2 (E.D. Cal. Fe. 10, 2010) (“The status of the parties’ citizenship . . . can be determined

                  14    from the complaint or from other sources, including statements made in the notice of removal.”);

                  15    see also Kanter v. Warner –Lambert Co., 265 F.3d 853, 857 (9th Cir. 2001) (examining the

                  16    complaint and notice of removal to determine citizenship). Defendant BMW NA is a privately

                  17    held Delaware limited liability company with its principle place of business located in Woodcliff

                  18    Lake, New Jersey. BMW NA is a wholly owned subsidiary of BMW (US) Holding Corp., which

                  19    is the sole member of BMW NA, and it is incorporated under the laws of Delaware, and has its
                  20    headquarters and principal place of business in the State of New Jersey. Accordingly, BMW NA

                  21    is a citizen of Delaware and New Jersey, not California. See 28 U.S.C. § 1332(c)(1); Johnson v.

                  22    Columbia Props. Anchorage, LP, 437 F.3d 894, 899 (9th Cir. 2006) (“[L]ike a partnership, an

                  23    LLC is a citizen of every state of which its owners/members are citizens.”); BMW NA’s

                  24    Corporate Disclosure Statement ¶ 1.)

                  25            14.    Therefore, this Court has diversity jurisdiction over this matter pursuant to 28

                  26    U.S.C. § 1332(a)(1), and the Action may be removed to this Court under 28 U.S.C. §§ 1441 and

                  27    1446.

                  28
MORGAN, LEWIS &                                                            5                                          Case No.
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                    1           C.     All Additional Prerequisites for Removal Are Satisfied

                    2           15.    This Notice of Removal is timely. A notice of removal must be filed “within 30

                    3   days after the receipt by the defendant, through service or otherwise,” of the initial pleading or

                    4   “other paper from which it may first be ascertained that the case is one which is or has become

                    5   removable.” 28 U.S.C. § 1446(b)-(c); see also Fed. R. Civ. Proc. § 6(a)(1)(C) (if the last day is a

                    6   Saturday, Sunday, or legal holiday, the period continues to run until the end of the next day that is

                    7   not a Saturday, Sunday, or legal holiday). The Notice of Removal is timely because Plaintiff has

                    8   served BMW NA with a copy of his complaint on October 8, 2021, and this Notice of Removal is

                    9   filed within 30 days thereof. See Berry v. Toywatch S.p.A., Case No. LA CV13-05428 JAK
                  10    (CWx), 2013 WL 12131761, *5 (C.D. Cal. Oct. 10, 2013) (“Therefore, if a plaintiff fails properly

                  11    to serve a Summons and Complaint, the 30-day period for removal under 28 U.S.C. § 1446 is

                  12    triggered on the date that the defendant first makes a general appearance in the matter.”); Emma

                  13    Court LP v. United Am. Bank, No. 09-03625, 2009 WL 4456387, at 4 (N.D. Cal., Nov. 30, 2009)

                  14    (“In California, a general appearance can make up for a complete failure to serve a summons

                  15    because a defendant submits to the court’s jurisdiction by making a general appearance.”).

                  16            16.    No previous Notice of Removal has been filed or made with this Court for the

                  17    relief sought herein.

                  18            17.    Venue is proper in this Court because the Action is pending in the County of

                  19    Alameda, California. Thus, the United States District Court of the Northern District of California
                  20    is the “district and division embracing the place where such action is pending.” 28 U.S.C. §

                  21    1441(a).

                  22            18.    A copy of this Notice of Removal is being promptly served upon counsel for

                  23    Plaintiff and a copy is being filed with the Clerk of the Superior Court of the State of California

                  24    for the County of Alameda, as required by 28 U.S.C. § 1446(d).

                  25            19.    If any question arises as to the propriety of the removal of this Action, Defendant

                  26    respectfully requests the opportunity to submit a brief and present oral argument in support of its

                  27    position that this case is removable.

                  28    ///
MORGAN, LEWIS &                                                           6                                         Case No.
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                    1          For the forgoing reasons, Defendant respectfully requests that this action be removed from

                    2   the Superior Court of the State of California, for the County of Alameda, to the United States

                    3   District Court of the Northern District of California, and that all future proceedings in this matter

                    4   take place in that District Court.

                    5
                    6    Dated: November 8, 2021                              MORGAN, LEWIS & BOCKIUS LLP
                                                                              Molly Moriarty Lane
                    7                                                         Mark W. Allen
                                                                              Kevin M. Benedicto
                    8
                                                                              By /s/ Mark W. Allen
                    9                                                             Mark W. Allen
                  10                                                               Attorneys for Defendant
                                                                                   BMW of North America, LLC
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MORGAN, LEWIS &                                                           7                                          Case No.
 BOCKIUS LLP
 ATTORNEYS AT LAW                  NOTICE OF REMOVAL OF CIVIL ACTION TO THE UNITED STATES DISTRICT COURT
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     EXHIBIT A - NOTICE OF REMOVAL
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                                                                                                   Service of Process
                                                                                                   Transmittal
                                                                                                   10/08/2021
                                                                                                   CT Log Number 540388974
TO:         Howard Harris
            BMW of North America, LLC
            300 Chestnut Ridge Road
            Woodcliff Lake, NJ 07677-7731

RE:         Process Served in California

FOR:        BMW of North America, LLC (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                 Re: NEAL ADAMS // To: BMW of North America, LLC
DOCUMENT(S) SERVED:                              -
COURT/AGENCY:                                    None Specified
                                                 Case # RG21115137
NATURE OF ACTION:                                Product Liability Litigation - Lemon Law
ON WHOM PROCESS WAS SERVED:                      C T Corporation System, GLENDALE, CA
DATE AND HOUR OF SERVICE:                        By Process Server on 10/08/2021 at 02:20
JURISDICTION SERVED :                            California
APPEARANCE OR ANSWER DUE:                        None Specified
ATTORNEY(S) / SENDER(S):                         None Specified
ACTION ITEMS:                                    CT has retained the current log, Retain Date: 10/08/2021, Expected Purge Date:
                                                 10/13/2021

                                                 Image SOP

                                                 Email Notification, Diane Carbone Diane.Carbone@bmwna.com

                                                 Email Notification, Gino Palacios Gino.Palacios@bmwnaext.com

                                                 Email Notification, WR Litigation WR_LITIGATION@bmwna.com

                                                 Email Notification, Annette Fabrizi annette.fabrizi@bmwna.com

REGISTERED AGENT ADDRESS:                        C T Corporation System
                                                 330 N BRAND BLVD
                                                 STE 700
                                                 GLENDALE, CA 91203
                                                 800-448-5350
                                                 MajorAccountTeam1@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other




                                                                                                   Page 1 of 2 / SS
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                                                                                                    Service of Process
                                                                                                    Transmittal
                                                                                                    10/08/2021
                                                                                                    CT Log Number 540388974
TO:         Howard Harris
            BMW of North America, LLC
            300 Chestnut Ridge Road
            Woodcliff Lake, NJ 07677-7731

RE:         Process Served in California

FOR:        BMW of North America, LLC (Domestic State: DE)




advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
therein.




                                                                                                    Page 2 of 2 / SS
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                                                            (ral Wolters Kluwer

                            PROCESS SERVER DELIVERY DETAILS




Date:                          Fri, Oct 8, 2021

Server Name:                  Jimmy Lizama




Entity Served                  BMW OF NORTH AMERICA, LLC

Case Number                    RG21115137

J urisdiction                  CA




        111111111111111 11111111111111111111111
                               Case 3:21-cv-08687-LB Document 1 Filed 11/08/21 Page 13 of 31                                                      SUM-100
                                          SUMMONS                                                                      FOR COURT USE ONLY
                                                                                                                    (SOLOPARA USO DELA CORTE)
                                     (CITACION JUDICIAL)
                                                                                                              ENDORSED
 NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):                                                                                           FILED
                                                                                                           ALAMEDA COUNTY
 BMW OF NORTH AMERICA,LLC; and DOES 1 through 30,inclusive,
                                                                                                                OCT 0 7 2021
YOU ARE BEING SUED BY PLAINTIFF:                                                                     CLERK 0          E-S0         OR COURT
(LO ESTA DEMANDANDO EL DEMANDANTE):                                                                  BY
NEAL ADAMS,                                                                                                A            O1AS           y


  NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the Information
  below.
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
 case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
  Online Self-Help Center (www.courtinfo.ca.govlselfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
 the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
  may be taken without further warning from the court.
     There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
  referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (wvvw.lawhelpcaliforniaorg), the California Courts Online Self-Help Center
 (www.courtinfo.ca.goviselfhelp), or by contacting your local court or county bar association. NOTE:The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more In a civil case. The court's lien must be paid before the court will dismiss the case.
 jAVISO!Lo han demandado. SI no responde dentro de 30 dies, la cone puede decidir en su contra sin escuchar su version. Lea la informacion a
 continuaclon.
     Tiene 3001,46 DE CALENDARIO despues de quo entreguen este citactOrt y papeles legates pare presenter una respuesta par escrito err esta
 corte y hacer que se entregue una copla al demandante. Una carte o una Itamada telefonica no/a protegen. Su respuesta par escrito hone quo ester
 en format° legalcorrode si desea qua procesen su caso en la corte. Es postble quo haya un formulado cue usted puede user pare su respuesta.
 Puede encontrar estos fonnularios de la carte y alas Informacton en el Centro de Ayuda de las Cortes de California (ww.sucorte.ca.gov), en la
 biblloteca de leyes de su condado o en la cone quo to quede mes cerca. SI no puede pager la cuota de presentacion, pida al secreted° de la corte
 quo to de un formulario de exenclon de pago de cuotas. St no presenta su respuesta a flame°, puede perder el caso par Incumplimiento y la corte le
 podra guitar su sue/do, dineno y Welles sin mas advertencia.
    Hay otros requisitos legates. Es recomendable quo Ilame a un abogado lnmediatamente. S/no conoce a un abogado,puede!lamer a un servicio de
 remisiOn a allogados. S/no puede pager a un abogado, es posibte quo curnpla con los requisitos pare obtener servielos legates gratuitos de un
 programa de serviclas legates sin fines de (ucre!. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
 ( www.lawhelpcalifomia.org), en el Centro de Ayuda de las Caries de California, (Www.sucorte.ca.gov)o poniendose en contact° con la cone o el
 coleglo de abogados locales. AVISO:Por by,la corte Hone derecho a rectamar las cuotas y los costas exentos par Imponer un gravamen sabre
 cue/cuter recuperacien de vamo6Inas de valor =bide mediante un acuerdo o una concesion de arbitraje en un caso de derecho civiL Tien° quo
 pager el gravamen de!a cone antes de cue la cone puede desechar el caso.
 The name and address of the court Is:
(El nombre y dIreccion de la carte es):
                                                                                                             :
                                                                                                             0„46 2                        5, 3 7
   Rene C. Davidson Alameda Courthouse
   1225 Fallon St.
   Oakland CA 94612
The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
(El nombre, la direccion ye!nOmero de telefono del abogado del demandante, o del demandante quo no thane abogado, es):
  Elliot Conn Bar No. 279920                                                 415-417-2780
  354 Pine St., 5th Floor,San Francisco,CA 94104
 DATE:
                     OCT 0 7 2021                                     Clerk, by                      JAMIE J. THOMAS                              , Deputy
( Fecha)
                                                 Chad Finke (Secretario)                                                                           (Adjunto)
(For proof ofservice of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citation use el form ulario Proof of Service of Summons,(POS-010)).
                                 NOTICE TO THE PERSON SERVED: You are served
 [SEAL)
                                 1. 1"--1 as an individual defendant.
                                 2.      r--1
                                          as the person sued under the fictitious name of (specify):


                                       3. Eal on behalf of (specify):
                                                                          BMW OF NORTH AMERICA,LLC
                                          under:      CCP 416.10(corporation)                     CCP 416.60 (minor)
                                                   ni CCP 416.20(defunct corporation)      [7 CCP 416.70(conservatee)
                                                   ni CCP 416.40(association or partnership) fl 1 CCP 416.90(authorized person)
                                              CEM other (specify):Corporation                 Code 17061 Limited Liability Company
                                       4. =3 by personal delivery on (date):
                                                                                                                                                     Page lot 1
  Form Adopted for Mandatory Use
    Judicial Council of California                                    SUMMONS                                                 Code 01 MO Procedure §§412.20,465
                                                                                                                                             wtwzcourrinfaca.gov
   SUM-100 [Rev.July 1,2009)
          Case 3:21-cv-08687-LB Document 1 Filed 11/08/21 Page 14 of 31

                                                                                  ENDORSED
                                                                                  FILED
 1CONN LAW,PC                                                                ALAMEDA COUNTY
  ELLIOT CONN                Bar No. 279920
2 354 Pine Street, 5th Floor                                                      OCT 0 7 2021
  San Francisco, CA,94104
3 Telephone:(415)417-2780                                                 CLERK        iJ7 fOR COURT
  Facsimile:(415)358-4941
4 elliot@connlawpc.com                                                      -7=11-      e:Da
                                                                                           -'pu-ty

 5   Attorneys for Plaintiff NEAL ADAMS
 6

 7

 8                  IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA

 9                           IN AND FOR THE COUNTY OF ALAMEDA

10                                                                           RG21115137
     NEAL ADAMS,                                            Case No.
11
                           Plaintiff                        COMPLAINT FOR DAMAGES FOR
12                                                          BREACH OF WARRANTY,CIVIL CODE
             VS.                                            §1790,ETSEQ.
13
     BMW OF NORTH AMERICA,LLC; and                          Unlimited Civil Case
14   DOES 1 through 30,inclusive,
                                                            JURY TRIAL DEMANDED
15                         Defendants.

16
17
18
19                                         INTRODUCTION                                              p;


20   1.      Plaintiff NEAL ADAMS ("Plaintiff') brings this action as an individual for statutory

21   breach of warranty against Defendants BMW OF NORTH AMERICA,LLC (hereinafter

22 "BMW NA"), and DOES 1 through 30, under California's Song-Beverly Consumer Warranty

23   Act, arising from the purchase of a defective 2017 BMW X5, VIN: 5UXKT0C31H0V96722

24 (hereinafter the "vehicle"). On information and belief, Plaintiff alleges the following:
25                                              PARTIES

26   2.      Plaintiff NEAL ADAMS is an individual over the age of 18 years. At all relevant times

27   herein, NEAL ADAMS is and was a resident ofthe state of California.

28   3.      Defendant BMW NA is, and at all times relevant herein was,a Delaware company
                                                        1
                                           211007 Complaint for Damages
          Case 3:21-cv-08687-LB Document 1 Filed 11/08/21 Page 15 of 31



 1   qualified to do business and conducting business in the State of California. BMW NA was and

 2   is the manufacturer and/or warrantor of the vehicle.

 3                                          DOE DEFENDANTS

 4   4.      Plaintiff does not know the true names and capacities, whether corporate, partnership,

 5   associate, individual or otherwise, of defendants sued herein as DOES 1 through 30, inclusive,

 6   pursuant to §474 of the California Code of Civil Procedure. Plaintiff is informed and believes

 7   and thereupon alleges that defendants DOES 1 through 30, inclusive, are in some manner

 8   responsible for the acts, occurrences and transactions set forth herein and are legally liable to

 9   Plaintiff. Plaintiff will seek leave to amend this complaint to set forth the true names and

10   capacities of said fictitiously-named defendants, together with appropriate charging allegations,

11   when ascertained.

12                                     AGENCY AND ALTER EGO

13   5.      At all times mentioned herein each Defendant, whether actually or fictitiously named

14   herein, was the principal, agent (actual or ostensible), or employee of each other defendant and

15   in acting as such principal or within the course and scope of such employment or agency, took

16   some part in the acts and omissions hereinafter set forth, by reason of which each Defendant is

17   liable to Plaintiff for the relief prayed for herein.

18                                     JURISDICTION AND VENUE

19   6.      Venue is proper in Mann County because Defendant BMW NA conducts substantial

20   business in Alameda County, because Plaintiff purchased the vehicle in Alameda County, and

21   because most of the repairs to the vehicle occurred in Alameda County.

22   7.      This Court has jurisdiction over Plaintiff's claims because Plaintiff is a resident of

23   California and Defendant BMW NA is qualified to do business in California and regularly

24   conducts business in California. Furthermore, the acts and omissions complained of occurred in

25   California.

26                                          OPERATIVE FACTS

27   8.      On or about September 15, 2018, Plaintiff signed the paperwork to purchase the vehicle

28   from Weatherford BMW,an authorized BMW NA dealership in Berkeley, California for a total
                                                           2
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 1   cost of $74,178.53, including taxes, finance charges, and license fees. The vehicle was

 2   purchased primarily for personal and family use.

 3   9.      All owners of new and certified pre-owned BMW NA vehicles, including the vehicle,

 4   receive express warranties from Defendant BMW NA.

 5   10.     BMW NA's basic warranties covered any repairs or replacements needed during the

 6   warranty period due to defects in factory materials or workmanship. Any required adjustments

 7   would also be made during the basic coverage period. All warranty repairs and adjustments,

 8   including parts and labor, were to be made at no charge. Additional warranties were set forth in

 9   the warranty booklet and are incorporated herein by reference as though fully set forth.

10 1 1.      In fact, when delivered, the vehicle was defective in materials and workmanship, such

11   defects being discovered within the warranty periods. Within seven months of purchase and less

12   than 12,000 miles of use Plaintiff began to experience numerous defective conditions with the

13   Vehicle, many of which continue to this day. These conditions included, but were not limited to:
14             (a)      Car makes a clunking sound when acerating from a stop;

15             (b)      Bump stops incorrectly adjusted;

16              (c)     Comfort access does not work;

17             (d)      Blind spot support monitor shuts off after driving;

18             (e)      Clunk in transmission when shifting;

19             (f)      Check engine light comes on sporadically;

20             (g)      Multiple fuel tank faults;
21             (h)      Gas door not opening;

22             (1)      Fault fuel pressure sensors;

23             (i)      Check engine light returned; and

24             (k)      Restraint warning system appeared while driving;

25   12.     And on August 5, 2021, Plaintiff had the vehicle towed to a BMW NA authorized repair

26   facility for warranty repair and has been without the vehicle ever since. As of the date of the

27   filing of this complaint, the vehicle has been out of service for repair for 63 days,just for this

28   most recent repair visit.
                                                          3
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 1   13.    Plaintiff has returned the vehicle to BMW NA authorized dealerships for warranty repair

 2   on no fewer than 7 occasions. Since purhcase, Plaintiff has been without the vehicle due to it

 3   being out or service for repair for no fewer than 95 calendar days, and is currently without the

 4   vehicle. The vehicle was in repair facilities for an unreasonable period of time and for an

 5   unreasonable number oftimes. Despite the prolonged period during which BMW NA and its

 6   authorized repair facilities were given the opportunity to repair the vehicle, many of the more

 7   significant conditions were not repaired, and the vehicle remains undriveable.

 8   14.    The defects experienced by Plaintiff with the vehicle substantially impair its use, value

 9   and safety to Plaintiff. Despite Plaintiff's efforts to allow BMW NA and BMW NA authorized

10   repair facilities the opportunity to repair the vehicle, many nonconforming and defective

11   conditions were never repaired. The vehicle continues to this day to exhibit the more significant

12   defective conditions described above.

13   15.    Prior to bringing this lawsuit, Plaintiff contacted BMW NA directly and asked BMW

14   NA to repurchase the defective vehicle. On September 30, 2021, BMW NA wrote to Plaintiff,

15 "after a thorough investigation of the complaints presented, BMW NA has determined that the

16   vehicle's service history does not present an obligation for BMW NA to reacquire the vehicle.

17   Given this evaluation, BMW NA is unable to reacquire the vehicle at this time."

18   16.    Plaintiff had no choice but to bring this lawsuit.

19                                 FIRST CAUSE OF ACTION
                (Breach of Express Warranty in Violation of Civil Code §1790, et seq.)
20                          (Against BMW NA and Applicable DOES)
21   17.    Plaintiff realleges and incorporates by reference as though fully set forth herein each and

22   every allegation contained in the paragraphs above.

23   18.    The vehicle is a "New Motor Vehicle" as defined in Civil Code §1793.22(e)(2).

24   19.    BMW NA is a "manufacturer" as defined in California Civil Code §1791(j). Plaintiff is

25   informed and believes and thereupon alleges that defendant BMW NA is the warrantor and thus

26   obligated to comply with Civil Code §1791, et seq., pursuant to Civil Code §1795.

27   20.    Plaintiff's acquisition of the vehicle was accompanied by express factory warranties

28   offered by defendant BMW NA to Plaintiff.
                                                          4
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 1   21.      The express warranties described and incorporated herein by reference are each an

 2 "express warranty" as defined in California Civil Code §1791.2(a)(1).

 3   22.      BMW NA's express warranties covered any repairs or replacements needed during the

 4   warranty period due to defects in factory materials or workmanship. Any required adjustments

 5   or repairs would also be made during the basic coverage period. All warranty repairs and

 6   adjustments, including parts and labor, were to be made at no charge. Additional warranties

 7   were set forth in the warranty booklet, and are incorporated herein by reference as though fully

 8   set forth.

 9   23.      In fact, when delivered to Plaintiff, the vehicle was defective in materials and

10   workmanship, such defects being described above and discovered within the warranty periods.

11   24.      Plaintiff was without the vehicle due to it being out of service for repair, by authorized

12   BMW NA servicing dealerships and/or their agents, for no fewer than 95 days and on no fewer

13   than 7 occasions. And Plaintiff remains without the vehicle as it is currently out of service for

14   repair. Despite the number of times and days Defendants were given the opportunity to repair

15   the vehicle, they failed to repair the vehicle so as to bring it into conformity with the warranties

16   set forth herein.

17   25.      The defects experienced by Plaintiff with the vehicle substantially impair its use, value,

18   or safety to Plaintiff. Despite Plaintiff's repeated efforts to allow BMW NA the opportunity to

19   repair the vehicle, many nonconforming and defective conditions were never repaired. The

20   vehicle continues to exhibit the problems described above and Plaintiff remains without the

21   vehicle.

22   26.      For this most recent repair, BMW NA failed to conform the vehicle to its applicable

23   warranties within 30 days' time. Plaintiff never agreed to waive his right to have the vehicle

24   conform to the applicable warranties within 30 days. There were no conditions beyond the

25   control ofBMW NA or its representatives to extend the 30-day requirement.

26   27.      As a direct and proximate result of Defendants' violation of their obligations under the

27   Song-Beverly Consumer Warranty Act, Plaintiff has suffered actual, consequential, and

28   incidental damages, including but not limited to money expended on the purchase of the vehicle,
                                                          5
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  1   rent charges, the loss of use of the vehicle during the time it has been in for repair, other

 2    incidental and consequential damages, and attorneys' fees, which Plaintiff has incurred and will

 3    continue to incur in order to protect his rights in this matter.

 4    28.     As a direct and proximate result of BMW NA's willful violation of its obligations under

 5    the Song-Beverly Consumer Warranty Act, Plaintiff is entitled to have BMW NA either replace

 6    the goods or reimburse Plaintiff Plaintiff has the choice to elect either option, pursuant to

 7    California Civil Code §1793.2(d)(2).

 8    29.     As a direct and proximate result of BMW NA's willful violation of its obligations under

 9    the Song-Beverly Consumer Warranty Act, Civil Code §1794(c) Plaintiff is entitled to a civil

10    penalty of two times actual damages.

11    30.    Pursuant to Civil Code §1794(d), Plaintiff is entitled to recover a sum equal to the

12    aggregate amount of costs and expenses, including attorneys' fees. As a proximate result of

13    BMW NA's misconduct as alleged herein, and in an effort to protect his rights, Plaintiff has

14    incurred and will continue to incur legal fees, costs, and expenses in connection therewith.

15            WHEREFORE,Plaintiff prays for judgment as hereinafter set forth.

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                                              211007 Complaint for Damages
         Case 3:21-cv-08687-LB Document 1 Filed 11/08/21 Page 20 of 31




 1                                                PRAYER

 2           WHEREFORE,Plaintiff prays for judgment as follows:

 3 (1)       For actual damages in excess of the jurisdictional minimum of this Court;

 4 (2)       For restitution in the form of reimbursement pursuant to California Civil Code §1794(b)

 5    and §1793.2(d);

 6 (3)       For civil penalty pursuant to California Civil Code §1794(c) in an amount twice that of

 7    the actual damages;

 8 (4)       For prejudgment interest at the maximum legal rate;

 9 (5)       For attorneys' fees and costs of suit incurred herein; and

10 (6)       For such other and further relief as the Court deems just and proper under the

11    circumstances.

12    Dated: October 7, 2021                         CONN LAW,PC
13

14                                         By:
                                                     ELLIOT CONN
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                                            211007 Complaint for Damages
        Case 3:21-cv-08687-LB Document 1 Filed 11/08/21 Page 21 of 31




 1                                    JURY TRIAL DEMANDED

 2         Plaintiff demands a trial by jury on all issues so triable.

 3   Dated: October 7, 2021                         CONN LAW,PC
 4

 5                                        By:
                                                    ELLIOT CONN
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                                           211007 Complaint for Damages
 ATTORNEY um YAK'1* re nuu
Elliot Conn Bar NO.279920 Case 3:21-cv-08687-LB Document 1 Filed                              11/08/21 Page 22 of 31
Conn Law,PC
'
354 Pine St., 5th Floor,San Francisco, CA 94104
      . TELEPHONE NO.:415-417-2780           FAX NO.(Optiootio:415-358-4941

       E-W4.11. ADDRESS:elliot@connlawpc.com
                                                                                                             ENDORSED
  ATTORNEY FOR(Name):Neal Adams
                                                                                                               MED _
SUPERIOR COURT OF CALIFORNIA, COUNTY OF Alameda                                                                    COUNTY
                                                                                                           ALAYMbA
 STREET ADDRESS:      ns Fallon St.
  MAILING ADDRESS:                                                                                              OCT 0 7 2021
 CITY AND ZIP CODE:Oakland 94612
     BRANCH NA,    .Rene C. Davidson Alameda Courthouse                                                                                  OR Mat
 CASE NAME:
 Adams v. BMW of North America, LLC                                                                                    Via                    F
                                                                                                          CASE NUMBER
       CIVIL CASE COVER SHEET                              Complex Case Designation
         Unlimited                  United                      Counter                   Joinder                   R G21115137
       (Amount                      (Amount            Filed with first appearance by defendant JUDGE:
         demanded                   demanded is            (Cal. Rules of Court, rule 3.402)              DEPT.:
         exceeds $25,000)           $25,000 or less)
                                       Items 1-6 below must be completed (see instructions on page 2).
  1. Check one box below for the case type that best describes this case:
     Auto Tort                                       • Contract                                      Provisionally Complex Civil Litigation
                                                       F7-I Breach of    contract/warranty  (06)     ( Cal. Rules of Court, rules 3.400-3.403)
            Auto(22)
                                                                                                     171
                                                                                                      .      Antitrust/Trade regulation (03)
            Uninsured motorist(46)                          1 Rule 3.740 collections(09)                     Construction defect(10)
     Other PIIPDAND (Personal Injury/Property                 Other collections(09)
     Damage/Wrongful Death)Tort                                                                              Mass tort(40)
                                                       I i Insurance coverage(18)
            Asbestos   (04)                            ni Other contract(37)                                 Securities litigation (28)
     LI Product liability    (24)                                                                            Environmen  tal/Toxic tort(30)
                                                       Real Property
            Medical malpractice(45)                                                                          Insurance  coverage    claims arising from the
                                                              Eminent domain/Inverse                         above listed provisionally complex case
            Other PI/PD/WD (23)                               condemnation (14)                              types(41)
      Non-PUPDAND     (Other)  Tort                      r-i  Wrongful eviction (33)                  Enforcement ofJudgment
            Business tort/unfair business practice(07 I I Other real property (26)                   I I Enforcement ofjudgment(20)
            Civil rights(08)                            UnlawfUl  Detainer                            Miscellaneous Civil Complaint
            Defamation (13)                                   Commercial(31)                         f 1 RICO (27)
                                                                                                     -
            Fraud (16)                                        Residential (32)                       F-1 Other complaint (riot specified above).(42)
            Intellectual property(19)                  1-1 Drugs(38)                                  Miscellaneous Civil Petition
            Professional negligence(25)                 Judicial Review
                                                                                                             Partnership and corporate governance (21)
     ED Other non-Pl/PD/WD tort(35)                           Asset forfeiture (05)
                                                              Petition re: arbitration award (11)             Other petition (not specified above)(43)
      Employment
            Wrongful termination(36)                   El Writ of mandate(02)
            Other employment(15)                              Other judicial review (39)
  2. This case 77 is                   is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
       factors requiring exceptional judicial management:
      a.        Large number of separately represented parties              d. 1-1 Large number of witnesses
      b. ni Extensive motion practice raising difficult or novel e. F-1 Coordination with related actions pending in one or more
                Issues that will be time-consuming to resolve                           courts in other counties, states, or countries, or in a federal
      c.         Substantial amount of documentary evidence                             court
                                                                                        Substantial postjudgmentjudicial supervision
  3. Remedies sought(check all that apply):a.                monetary b.             nonmonetary: declaratory or injunctive relief C.                punitive
  4. Number of causes of action (specify):1. Breach of Warranty, Civil Code Section 1790,et seq.
  5. This case             is    F71 is not       a class action suit.
  6. If there are any known related cases,file and serve a notice of related case.(You may use form CA/1-015.)
  Date: 10/7/2021
  Elliot Conn
                             (TYPE OR PRINT NAME)                                                   (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)


   • Plaintiff must file this cover sheet with the first paper tiled in the action or proceeding (except small claims cases or cases filed
     under the Probate Code, Family Code,or Welfare and institutions Code).(Cal. Rules of Court, rule 3.220.) Failure to file may result
     in sanctions.
   • File this cover sheet In addition to any cover sheet required by local court rule.
   • If this case Is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
     other parties to the action or proceeding.
   • Unless this Is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                               Page 1 of2
   arm Adopted for Mandatory Use                                                                                 C411. Rules Of Court. rules 2,30. 3.220,3,400-3.403,3.740,
                                                            CIVIL CASE COVER SHEET                                        Cal. Standards of Judicial Administration. std. 3.10
                          Case 3:21-cv-08687-LB Document 1 Filed 11/08/21 Page 23 of 31                                                  CM-010
                                INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following:(1) tort
damages,(2) punitive damages,(3) recovery of real property,(4) recovery of personal property, or(5)a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                     CASE TYPES AND EXAMPLES
 Auto Tort                                      Contract                                          Provisionally Complex Civil Litigation (Cal.
    Auto (22)—Personal Injury/Property              Breach of CContract/Warranty
                                                                     t tNVarranty (06)            Rules of Court Rules 3.400-3.403)
          Damage/Wrongful Death                         Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
       Uninsured Motorist(46)(if the                         Contract (not unlawful detainer            Construction Defect(10)
        case involves an uninsured                                or wrongful eviction)
                                                                              ev on)                    Claims Involving Mass Tort(40)
        motorist claim subject to                       Contract/Warranty
                                                        Contract             Breach—Seller              Securities Litigation (28)
       arbitration, check this item                          Plaintiff(not fraud or negligence)         Environmental/Toxic Tort(30)
       instead of Auto)                                 Negligent Breach of Contract/                   Insurance Coverage Claims
 Other PUPD/WD (Personal Injury/                             Warranty                                         (arising from provisionally complex
 Property Damage/Wrongful Death)                        Other Breach of Contract/Warranty                      case type listed above)(41)
 Tort                                               Collections (e.g., money owed, open           Enforcement of Judgment
     Asbestos(04)                                       book accounts)(09)                           Enforcement of Judgment(20)
         Asbestos Property Damage                       Collection Case—Seller Plaintiff                  Abstract of Judgment(Out of
         Asbestos Personal Injury/                    ' Other Promissory Note/Collections                       County)
              Wrongful Death                                 Case                                    Confession of Judgment(non-
     Product Liability (not asbestos or             Insurance Coverage (not provisionally                  domestic relations)
         toxic/environmental)(24)                       complex)(18)                                 Sister State Judgment
      Medical Malpractice (45)                          Auto Subrogation                             Administrative Agency Award
          Medical Malpractice—                          Other Coverage                                   (not unpaid taxes)
               Physicians & Surgeons                Other Conract
                                                               t     (37)                             Petition/Certification of Entry of
     Other Professional Health Care                     Contractual Fraud                                  Judgment on Unpaid Taxes
            Malpractice                                 Other Contract Dispute                        Other Enforcement of Judgment
     Other PI/PD/WD (23)                        Real Property                                                Case
          Premises Liability (e.g., slip            Eminent Domain/Inverse                        Miscellaneous Civil Complaint
               and fall)                           • Condemnation (14)                                RICO (27)
          Intentional Bodily Injury/PD/WD           Wrongfu l Eviction(33)                            Other Complaint (not specified
               (e.g., assault, vandalism)           Other Real Property (e.g., quiet title)(26)             above)(42)
          Intentional Infliction of                     Writ of Possession of Real Property                 Declaratory Relief Only
               Emotional Distress                       Mortgage Foreclosure                                Injunctive Relief Only (non-
          Negligent Infliction of                       Quiet Title                                              harassment)
                Emotional Distress                      Other Real Property (not eminent                    Mechanics Lien
          Other PI/PDNVO                                domain, landlord/tenant, or                        Other Commercial Complaint
 Non-PUPD/WD (Other) Tort                               foreclosure)                                             Case (non-tort/non-complex)
     Business Tort/Unfair Business              Unlawful Detainer
                                                              t i                                          Other Civil Complaint
         Practice (07)                              Commercial (31)                                              (non-tort/non-complex)
     Civil Rights (e.g., discrimination,            Residential(32)                               Miscellaneous Civil Petition
          false arrest)(not civil                   Drugs(38)(if the case involves illegal           Partnership and Corporate
           harassment)(08)                          drugs, check this item; otherwise,                    Governance (21)
     Defamation (e.g., slander, libel)             report as Commercial or Residential)   l          Other Petition (not specified
          (13)                                  Judicial Review                                           above)(43)
     Fraud (16)                                     Asset Forfeiture (05)                                 Civil Harassment
     Intellectual Property (19)                     Petition Re: Arbitration Award (11)                   Workplace Violence
     Professional Negligence (25)                   Writ of M
                                                            Mandate
                                                                 d (02)                                   Elder/Dependent Adult
         Legal Malpractice                              Writ—Administrative Mandamus                            Abuse
         Other Professional Malpractice                 Writ—Mandamus on Limited Court                    Election Contest
            (not medical or legal)                         Case Matter                                    Petition for Name Change
     Other Non-PUPD/VVD Tort(35)                        Writ—Other Limited Court Case                     Petition for Relief From Late
 Employment                                                Review
                                                           Rev                                                  Claim
     Wrongful Termination (36)                      Other Judicial Review (39)                            Other Civil Petition
     Other Employment(15)                               Review of Health Officer Order
                                                        Notice of Appeal—Labor
                                                             Commissioner Appeals
CM-010[Rev. September 1,2021]                                                                                                             Page 2 of 2
                                                        CIVIL CASE COVER SHEET
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                                                     Unified Rules ofthe Superior Court of California, County ofAlameda
     F. ADDENDUM TO CIVIL CASE COVER SHEET
Short Title:                                                                                               Case Number:
Adams v. BMW of North America, LLC
                                                      CIVIL CASE COVER SHEET ADDENDUM
                                THIS FORM IS REQUIRED IN ALL NEW UNLIMITED CIVIL CASE FILINGS IN THE
                                             SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA
                                                                               [ ] Hayward Hall of Justice (447)
[ ] Oakland, Rene C. Davidson Alameda County Courthouse (446)     [ ] Pleasanton, Gale-Schenone Hall of Justice (448)
Civil Case Cover
Sheet Category   Civil Case Cover Sheet Case Type    Alameda County Case Type(check only one)
Auto Tort              Auto tort (22)                          []       34    Auto tort(G)
                                                               Is this an uninsured motorist case? [ ]yes [ ]no
Other PI /PD /         Asbestos(04)                            [ 1    75    Asbestos(0)
WD Tort                Product liability (24)                  [ ]    89    Product liability (not asbestos or toxic tort/environmental)(G)
                       Medical malpractice (45)                [ 1    97    Medical malpractice (G)
                       Other PI/PD/WD tort (23)                []      33   Other PI/PD/WD tort (G)
Non - PI /PD /         Bus tort / unfair bus. practice (07)    [ 1    79    Bus tort / unfair bus. practice (G)
WD Tort                Civil rights (08)                       [ ]    80    Civil rights(G)
                       Defamation (13)                         [ 1    84    Defamation (G)
                       Fraud (16)                              []     24    Fraud (G)
                       Intellectual property (19)              [ 1    87    Intellectual property (G)
                       Professional negligence (25)            [ ]    59    Professional negligence - non-medical(G)
                       Other non-PI/PD/WD tort (35)             1 1   03    Other non-PUPD/WD tort(G)
Employment             Wrongful termination (36)               [ ]    38    Wrongful termination (G)
                       Other employment(15)                    [ ]    85    Other employment(G)
                                                               [ 1    53    Labor comm award confirmation
                                                               [ ]    54    Notice of appeal - L.C.A.
                                                                                                —
Contract               Breach contract / Wrnty (06)             Nej   04    Breach contract/ Wrnty(G)
                       Collections (09)                        [ ]    81    Collections(G)
                       Insurance coverage (18)                 [ ]    86    Ins. coverage - non-complex (G)
                       Other contract (37)                     [ 1    98    Other contract(G)
Real Property          Eminent domain / Inv Cdm (14)           []     18    Eminent domain / Inv Cdm (G)
                       Wrongful eviction (33)                  []     17    Wrongful eviction (G)
                       Other real property (26)                [ 1    36    Other real property (G)
Unlawful Detainer      Commercial(31)                          [ j    94    Unlawful Detainer - commercial          Is the deft. in possession
                       Residential (32)                        [ ]    47    Unlawful Detainer - residential         of the property?
                       Drugs (38)                              ( ]    21    Unlawful detainer - drugs              [ ]Yes [ ]No
Judicial Review        Asset forfeiture (05)                   []        41  Asset forfeiture
                       Petition re: arbitration award (11)     [ ]      62 Pet. re: arbitration award
                       Writ of Mandate (02)                    [ 1      49 Writ of mandate
                                                               Is this a CEQA action (Publ.Res.Code section 21000 et seq)[ ]Yes [ ]No
                       Other judicial review (39)              []       64 Other judicial review
Provisionally          Antitrust / Trade regulation (03)       [ 1    77    Antitrust / Trade regulation
Complex                Construction defect (10)                [ 1    82    Construction defect
                       Claims involving mass tort (40)         [ ]    78    Claims involving mass tort
                       Securities litigation (28)              [ 1    91    Securities litigation
                       Toxic tort / Environmental (30)         []     93    Toxic tort / Environmental
                       Ins covrg from cmplx case type (41)     [[     95    Ins covrg from complex case type
Enforcement of .       Enforcement of judgment(20)             [ ]    19    Enforcement of judgment
Judgment                                                       [ 1    08    Confession of judgment
Misc Complaint         RICO (27)                               [ 1    90    RICO(G)
                       Partnership / Corp. governance (21)     [ 1    88    Partnership / Corp. governance(G)
                       Other complaint(42)                     [ ]    68    All other complaints(G)
Misc. Civil Petition   Other petition (43)                     [ 1    06    Change of name
                                                               []     69    Other petition
       202-19 (5/1/00)                                                                                                                   A-13
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EXHIBIT B - NOTICE OF REMOVAL
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